Case 5:17-cv-00123-RWS-CMC Document 174 Filed 09/27/18 Page 1 of 1 PageID #: 3269



                               UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF TEXAS
                                    TEXARKANA DIVISION

     UNITED STATES OF AMERICA             §
     ex rel. Health Choice Alliance, et al.,
                                          §
                                          §
           Plaintiff,                     §
                                          §                 CIVIL ACTION NO. 5:17-cv-00123
                                          §
     ELI LILLY AND COMPANY, INC., et al., §
                                          §
           Defendants.                    §



         ORDER ON DEFENDANTS’ UNOPPOSED JOINT MOTION FOR EXTENSION
         OF TIME TO RESPOND TO PLAINTIFF’S SECOND AMENDED COMPLAINT

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            Before the Court is Defendants Eli Lilly & Company, Inc., Healthstar Clinical Education

     Solutions, LLC, VMS Biomarketing, Covance, Inc., and United Biosource Corporation’s

     (collectively “Defendants”) Unopposed Joint Motion to Extend the Deadline to Move, Answer,

     or Otherwise Respond to Plaintiff’s Second Amended Complaint. For the reasons stated in the

     Motion, the Court GRANTS the Motion. Accordingly, the deadline for Defendants to move,

     answer, or otherwise respond to Plaintiff’s Second Amended Complaint is extended to

     November 13, 2018.
           SIGNED this 27th day of September, 2018.




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                                                     CAROLINE M. CRAVEN
                                                     UNITED STATES MAGISTRATE JUDGE
